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                                           12/20/17    Page 1 of
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                                           12/20/17    Page 2 of
                                                          2 of 3 3
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                                           12/20/17    Page 3 of
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